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                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA


            In the matter of: Civil Case Transfers to
            District Judge Aileen M. Cannon

         Pressley v. Sec., Fl. Dept. of Corr.                           2:19-cv-14271-KMM
            _________________________(Plaintiff v. Defendant), Case No:_________________________
VEGA v. Harbor  Chase of Vero Beach, LLC
            _________________________(Plaintiff                          2:19-cv-14387-KMM
                                                v. Defendant), Case No:_________________________
               Hacking, et al v. USA
            _________________________(Plaintiff                          2:19-cv-14449-KMM
                                                v. Defendant), Case No:_________________________
                  Miles v. Young
            _________________________(Plaintiff                         2:20-cv-14217-KMM
                                                v. Defendant), Case No:_________________________
  Mirand v. Walt Disney Parks and Resorts
             _________________________(Plaintiff                          2:20-cv-14265-KMM
                                                 v. Defendant), Case No:_________________________
      Cammalleri v. Sec., Fl. Dept. of Corr.
           _________________________(Plaintiff                          2:20-cv-14351-KMM
                                               v. Defendant), Case No:_________________________
  O'Brien, et al. v. Wal-Mart Stores East, LP
              _________________________(Plaintiff                          2:20-cv-14375-KMM
                                                  v. Defendant), Case No:_________________________
            _________________________(Plaintiff
                 Settle v. Shwartz, et al.                               2:20-cv-14393- KMM
                                                v. Defendant), Case No:_________________________
Marksman Security Corp. v. PG Security, Inc.
            _________________________(Plaintiff                          0:19-cv-62467-KMM
                                                v. Defendant), Case No:_________________________
 MSP Rec. Claims Ser. LLC v. Tokio Marine
             _________________________(Plaintiff                          1:20-cv-24199-KMM
                                                 v. Defendant), Case No:_________________________
 Marine Diesel Repairs v. M/Y Dream On
            _________________________(Plaintiff                          0:20-cv-61375-KMM
                                                v. Defendant), Case No:_________________________
   Snyder, et al. v. Royal Carribean Cruises
              _________________________(Plaintiff                          1:20-cv-21429-KMM
                                                  v. Defendant), Case No:_________________________
            Gonzalez v. Lansing, et al.
            _________________________(Plaintiff                          1:19-cv-23152-KMM
                                                v. Defendant), Case No:_________________________
 Perez Avelar _________________________(Plaintiff
              v. Family Dollar Stores of Fl.                               2:20-cv-14140-KMM
                                                  v. Defendant), Case No:_________________________
       Borden_________________________(Plaintiff
              v. Kampgrounds of Am., Inc.                                 2:20-cv-14332-KMM
                                                 v. Defendant), Case No:_________________________
      Harris v. Travel Resorts of Am., Inc.
             _________________________(Plaintiff                           2:20-cv-14368-KMM
                                                 v. Defendant), Case No:_________________________
                SEC v. Gity, et al.
            _________________________(Plaintiff                          2:20-cv-14342-KMM
                                                v. Defendant), Case No:_________________________


                                            ORDER OF REASSIGNMENT

                   The above-styled cases have been selected by the Clerk of Court utilizing a random

            selection procedure to insure the fair and impartial reassignment of cases from the undersigned

            District Judge to the newly appointed District Judge Aileen M. Cannon.

                   Prior to executing this Order, the undersigned has reviewed the files and has ruled upon

            all pending ripe motions that have not been referred to the paired Magistrate Judge, and which

            are fully briefed, in accordance with the policy established by the Judges of the Southern District

            of Florida (See Internal Operating Procedures, Section 2.05.03 -2.05.04). It is hereby
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            ORDERED that the above-styled actions are hereby REASSIGNED to the calendar of the

                                      11/23/20
  Honorable Aileen M. Cannon as of _________________ for all further proceedings. It is

  further

            ORDERED that all currently pending hearings set before the undersigned Judge are

  hereby TERMINATED and are to be rescheduled by District Judge Aileen M. Cannon. It is

  further

            ORDERED all deadlines will REMAIN IN EFFECT unless altered by District Judge

  Aileen M. Cannon. It is further

            ORDERED that all papers hereafter filed shall bear the assigned case number followed

  by the initials AMC in lieu of the present initials.

            DONE and ORDERED at Miami, Florida, in chambers this ____
                                                                 23rd day of

  November, 2020.



                                                     ______________________________________
                                                     _ ____________
                                                     __          _ _______
                                                     K. MICHAEL MOORE
                                                     CHIEF UNITED STATES DISTRICT JUDGE

  c: All counsel of record/pro se parties
